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     IT IS ORDERED as set forth below:



     Date: March 13, 2019                      ___________________________

                                                         W. Homer Drake
                                                   U.S. Bankruptcy Court Judge
  _______________________________________________________________

                       UNITED STATES BANKRUPTCY COURT
                        NORTHERN DISTRICT OF GEORGIA
                               NEWNAN DIVISION

In Re:                                            CHAPTER 7
WILLIAM CHARLES SHAFFER
and VIRGINIA LYNN SHAFFER,                        CASE NO. 18-12387-WHD
                    Debtors.


NATIONSTAR MORTGAGE LLC
D/B/A MR. COOPER,
                                                  CONTESTED MATTER
                             Movant,
V.

WILLIAM CHARLES SHAFFER
and VIRGINIA LYNN SHAFFER,
Debtors, and THEO DAVIS MANN,
Trustee,
                      Respondents.

                       ORDER GRANTING RELIEF FROM STAY

        Movant’s motion for relief from the automatic stay of 11 U.S.C. § 362(a) came on for

hearing on March 7, 2019. Movant asserts that it properly served the Motion and notice of the

hearing on the Respondents. No one filed a response or objection to the motion or appeared at
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the hearing in opposition to the motion. The Court, having considered the motion and all other

matters of record, has determined that relief from the automatic stay should be granted as set

forth herein.

       It is, therefore, ORDERED as follows:

       1.       The automatic stay of 11 U.S.C. § 362 terminated to permit Movant and its

successors and assigns to assert and exercise all of their rights and remedies with regard to the

property commonly known as 565 Eagles Nest Circle, Carrollton, GA 30116, more particularly

described at Deed Book 5301, Page 378, Carroll County records (“the Property”), including, but

not limited to, the institution and completion of foreclosure and dispossessory proceedings in

accordance with applicable law and the collection of reasonable fees from the Property to the

extent permitted by applicable law. The automatic stay is also terminated to the extent it prevents

Movant from entering into a loan modification or other loss mitigation.

       2.       This Order does not determine any issues with regard to the amount or validity of

the claim of the Movant, its successors or assigns, or any rights or interests of the Movant, its

successors or assigns, the Debtors, or any other entity in the Property.

       3.       Upon the completion of any foreclosure sale prior to the closing of this case, if the

proceeds of the sale exceed the amount to which the Movant is entitled, the Movant shall file a

report showing the disposition of such excess in accordance with applicable law and shall pay to

the Trustee in the case any amount otherwise due to the Debtors.

       4.       This Order shall be effective immediately, and the stay under Fed. R. Bankr. P.

4001(a)(3) shall not apply.

                                     END OF DOCUMENT



Signatures on following page
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No Opposition:

/s/ Theo Mann with express permission
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                                    DISTRIBUTION LIST

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